Case 5:10-mj-02897 Document 1 Filed in TXSD on 11/30/10 Page 1 of 1

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United States District Court MU\J..B mm §

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SOUTHERN DISTRICT OF TEXA§ .||E n cl §

 

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Laredo Division
UNITED STATES OF AMERICA 6 ?lD CRIMINAL COMPLAINT
V.
Jose Ruperto Landa-Rodriguez CaS€ Numb€rt L-l()-MJ- Q_Bq rul
A#087 621 285 . 75"\¢_¢/>
Nuevo Laredo, Tamuallpas
mande A¢wessomefendanr) ?E, ll /I\-{ / IC)
l, the undersigned complainant state that the following is true and correct to the best of my
knowledge and belief On or about September 1, 2009 in Laredo, Texas WEBB County, in
the Southern District of Tex(aDsa,w) Jose Ruperto Landa!Rodriguez defendant(s) ,
a Mexican alien, did unlawfully enter and attempt to enter the United States at a place other than as designated

by immigration officers, said offense having occurred subsequent to defendant’s arrest and conviction under the same
section before the United States Magistrate Judge in Laredo, Texas under Docket No. 5:09-90-09290 on or about
August 11, 2009

 

 

in violation of Title 8 United States Code, Section(s) 1325 Felony
I further state that I am a(n) Immigration Enforcement Agent and that this complaint is based on the
()l`f1cial Title y

following t`acts: based on statements of the accused and records of the Department of Homeland Security.

Furthermore, it is based on verbal statements by, Jose Ruperto Landa-Rodriguez , who admitted to being a citizen of

Mexico , who entered and attempted to enter illegally into the United States by wading the Rio Grande River near,
Laredo, Texas , thus avoiding immigration inspection, nor having proper documents to enter, travel through, or remain in the
United States. This illegal entry and attempted entry took place on September 1, 2009 subsequent to the defendant’s arrest
and conviction under the same section before the United States Magistrate Judge in Laredo, Texas under Docket No.
5:09-po-09200 on or about August 11, w

Continued on the attached sheet and made a part of this complaint [:]Yes -No

l%?

Signatuie of Co% ajnant

R. Randez%

Printed Name of Complainant

 

Sworn to before me and signed in my presence,

November 30, 2010 at Laredo, Texas

 

 

Date City and State

Guillermo R. Garcia r2
U.S. Magistrate Judge l L`-;

Name and Title ofJudicial Offlcer Signature ot`Judicial Officer

